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                    UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF VERMONT
__________________________________________
                                           )
In re:                                     )
                                           )
                            1
SPRINGFIELD HOSPITAL, INC.                )  Chapter 11
                                          )  Case No. 19-______
                  Debtor.                 )
__________________________________________)

      DECLARATION OF MICHAEL HALSTEAD IN SUPPORT OF SPRINGFIELD
    HOSPITAL, INC.’S CHAPTER 11 PETITION AND VARIOUS FIRST DAY MOTIONS

         I, Michael Halstead, declare, pursuant to § 1746 of title 28 of the United States Code, that:

         1.       I am the interim chief executive officer (“CEO”) of Springfield Hospital, Inc.

(“Springfield” or the “Debtor”). I am employed by Quorum Health Resources, LLC (“QHR”),

which first entered into a management and consulting agreement to provide, among other things,

chief executive officer services to the Debtor on or about January 17, 2019. I have 47 years of

experience in hospital administration, with 10 years of experience as a chief executive officer of a

hospital. For the past 18 years, I have held positions within QHR in which I had responsibilities

for the operations of 45 hospitals in my division. Many of these were critical access hospitals, like

the Debtor, as discussed below. I have also served as a chief financial officer previously.

         2.       I am familiar with the Debtor’s day-to-day business operations, business, and

financial affairs. I am authorized by the Debtor to submit this Declaration in support of its chapter

11 petition and the various first day motions described in this Declaration.

         3.       On June 26, 2019, the Debtor’s board of directors (the “Board”) held a meeting

and, by a voice vote, adopted a resolution (the “Resolution”) authorizing the filing of the Debtor’s




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         The last four digits of the taxpayer identification number of Springfield Hospital, Inc., are 9437. 11 U.S.C.
§ 342(c)(1).
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bankruptcy petition under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”). This Resolution is or will be filed on the docket in this case on this same day.

       4.      Springfield Medical Care Systems, Inc. (“SMCS” and together with the Debtor, the

“System”) is the single Class B and only voting member of the Debtor. On June 26, 2019, SMCS’s

board of directors (the “SMCS Board” and together with the Board, the “Boards”) held a meeting

and, by a voice vote, adopted the resolution (the “Member Resolution”) authorizing the filing of

the Debtor’s bankruptcy petition under chapter 11 of the Bankruptcy Code.             The Member

Resolution is or will be filed on the docket in this case on this same day.

       5.      On June 26, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. That same day, the Debtor also filed the following

motions (collectively, the “First Day Motions”):

               (a)     Motion For Authority To Use Cash Collateral On An Interim Basis And
                       Scheduling A Hearing Authorizing The Use Of Cash Collateral On A Final
                       Basis (the “Cash Collateral Motion”);

               (b)     Motion For Authority To Pay Pre-Petition Wages, To Maintain Existing
                       Insurance Coverage, And For Related Relief (the “Payroll Motion”);

               (c)     Motion For Order (A) Authorizing Continued Use Of Existing Business
                       Books, Records, And Bank Accounts; (B) Authorizing And Directing Banks
                       And Financial Institutions To Honor And Process Checks And Transfers;
                       And (C) For Related Relief, Including Permission To Conduct Credit Card,
                       EFT, And ACH Transactions (the “Cash Management Motion”); and

               (d)     Emergency Motion To Retain Quorum Health Resources, LLC, To Provide
                       Contracted Management And Consulting Services To The Debtor (the
                       “Quorum Motion”).

       6.      This Declaration is submitted in support of these First Day Motions.

       7.      All facts set forth in this Declaration are based on my personal knowledge; on

information supplied to me by others within the Debtor’s organization; upon my review of relevant

documents; or on my opinion, based on my experience and knowledge of the Debtor’s operations,

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financial condition, and present liquidity needs. If I were called to testify, I would testify

competently as to the facts in this Declaration.

I.       The Debtor’s Inception

         8.    The Debtor is a Vermont non-profit business corporation located in Springfield,

Vermont. The Debtor first incorporated in 1913 and has a mission “to excel at providing

personalized, quality care: Where People Come First.”

         9.    The Debtor services patients in southeastern Vermont and southwestern New

Hampshire (the “Service Area”).        Communities within the Service Area include, without

limitation, Springfield, Ludlow, Chester, Londonderry, and Bellows Falls, Vermont; and

Charlestown, New Hampshire.

         10.   The Debtor delivers health care in conjunction with SMCS. SMCS is a Vermont

non-profit business corporation that provides certain shared services for the System; operates nine

federally qualified health centers (each an “FQHC” and collectively “FQHCs”) in the Service

Area; and provides other shared services, such as outpatient mental health services. SMCS

commenced a chapter 11 case on the Petition Date (the “SMCS Case”). The SMCS Case is

pending before this Court.

II.      The Debtor’s Business And Background Information

         A.    Overview Of The Debtor’s Business

         11.   The Debtor operates a 25-bed general medical and surgical hospital located in

Springfield, Vermont, with approximately 355 employees and 272 full-time equivalent positions.

It is devoted to improving the health and quality of life for patients in Springfield and providing

the entire Service Area with exceptional patient care that is compassionate, cost effective, and

community-based.



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        12.    The Debtor provides the following services, among others, to patients in its Service

Area: (a) inpatient services including end-of-life care, nursing care to support transitions to home

(“swing bed” care), and hospitalist services to coordinate inpatient care; (b) outpatient services

including cardiology testing, emergency department services, lab testing, and outpatient medical

procedures (e.g., blood transfusions, injections, would care); (c) a range of imaging services

including CT scanning, mammography, MRI, and ultrasound; (d) therapy rehabilitation services

including alternative pain management, occupational therapy, physical therapy, speech therapy;

(e) limited general surgical services (and providing an operating room to visiting specialists); (f)

primary care services; (g) numerous types of specialty care primarily provided by physicians

utilizing the Debtor’s facilities; and (h) support for community groups.

        13.    In 2018, there were 16,235 emergency department visits and 6,581 total inpatient

days. The emergency department has 12 beds. It is supported by 24-hour coverage of testing

facilities, including laboratory testing and radiology. The Debtor currently has 25 licensed beds

and the average daily inpatient census is 13 patients. Acute patients are typically discharged within

96 hours. The Debtor also has “swing beds”—essentially beds used for rehabilitative, non-acute

care.

        14.    The Debtor also provides inpatient mental health services at The Windham Center,

located at 1 Hospital Court, # 12, Bellows Falls, Vermont. The inpatient census at The Windham

Center is currently 7 patients.

        15.    The Debtor is the only hospital in Springfield and plays an important role as a

hospital required to provide care to patients for most procedures regardless of their ability to pay.

The nearest hospitals are Mt. Ascutney Hospital and Health Center (“Mt. Ascutney), in Windsor,




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Vermont (about 22 miles away and a 30-minute drive); and Valley Regional Healthcare (“Valley

Regional”), in Claremont, New Hampshire (about 20 miles aware and a 30-minute drive).

        16.      Many patients within the Service Area face long travel times—even without

inclement weather—to obtain hospital-level services at the Debtor’s facility in Springfield. If the

Debtor shuts down, then many patients in the Service Area would face even longer travel times to

obtain hospital services. Increased distances to emergency rooms are correlated with worse health

outcomes. Kelly, C., Hulme, C., Farragher, T., & Clarke, G., Are differences in travel time or

distance to healthcare for adults in global north countries associated with an impact on health

outcomes? A systematic review. BMJ open, 6(11), e013059. doi:10.1136/bmjopen-2016-013059

(Nov. 24, 2016), available at https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5178808/# (last

visited June 3, 2019).

        17.      By virtue of the Debtor’s rural location, size, and certain services that it provides,

it qualifies as and is a critical access hospital under the Medicare and Medicaid programs.

Congress created the critical access hospital designation in 1997 in order to reduce the financial

vulnerability of rural hospitals while also ensuring that essential health services are available to

rural         communities.             See       RHIhub,        Critical      Access        Hospitals,

https://www.ruralhealthinfo.org/topics/critical-access-hospitals (last visited June 3, 2019). To

meet the designation criteria, a hospital must not be closely located to another nearby hospital,

must maintain no more than 25 inpatient beds, and must have 24-hour emergency services. 42

C.F.R. §§ 485.610(c), 485.618(a), 485.620. The Debtor meets these criteria.

        B.       Events Leading To The Debtor’s Chapter 11 Filing

        18.      The Debtor entered into an affiliation with SMCS approximately 10 years ago. The

two companies share a number of administrative staff members, provide services for one another,



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and have, at times, provided financial assistance to one another as needed. This is a novel

arrangement and one of only three in the country that I am aware of in which a company operating

a FQHC has functioned as a parent entity to a hospital.

       19.     It is my understanding that there were numerous business reasons for this

arrangement when it was implemented, including the following: First, SMCS is able to provide

important primary care services throughout the Service Area. Second, SMCS housed certain

specialty care physician practices providing services to patients of the Debtor. This has allowed

the System to command higher reimbursement for those services due to regulatory benefits

provided to FQHCs while also lowering cost because, among other things, FQHCs are not subject

to tort liability. See Health Resources & Services Administration, About The Federal Tort Claims

Act (FTCA), available at https://bphc.hrsa.gov/ftca/about/index.html (last visited June 3, 2019).

Third, the system could share certain administrative costs.

       20.     This arrangement was successful for many years. Beginning in 2016, however, the

System began to face financial challenges due to, among other things, revenue declines; increased

cost for purchased services; increased health care expenses for employees, who participate in a

System-level self-funded health plan; and expanded services, some of which were not profitable.

The System faced several years of operating losses.

       21.     Things came to a head in the fall of 2018. Independent auditors learned during the

preparation of the System’s audited financial statements that the Debtor had not paid the third

quarter employment taxes and brought this information to the Boards. This led to a change in

executive management and Quorum’s selection to provide interim chief executive officer services

for the Debtor, chief financial officer services for the System, and consulting services.




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       22.     Since the retention of Quorum, the Boards, working with senior leadership of the

Debtor and SMCS, have approved and management has implemented numerous service line and

staffing changes in order to reduce approximately $6.2 million of expenses. About $4 million of

these cuts are attributable to the Debtor, and about $2.2 million are attributable to SMCS. These

changes have included terminating certain services, including birthing services; across-the-board

salary reductions, some of which we have needed to restore to maintain our nursing staff; and other

changes to right-size the Debtor. SMCS has also made significant changes. The executive

leadership team’s salaries were reduced at the same time as all other employees.

       23.     The goal of these changes is to position the Debtor and SMCS to be able to viable

on a go-forward basis once they restructure their balance sheets and implement further operational

changes. This restructuring has been challenging because, among other things, news of the

Debtor’s financial condition became public in the fall of 2018 and the fact that the Debtor was

considering chapter 11 became public in the winter of 2019 and again in late spring 2019. This

prompted some vendors to tighten credit terms, some employees to quit in order to cash out

available earned time off, and created a challenging environment with certain key parties.

       24.     The following chart summarizes the Debtor’s finances and other information for

the past several years. Information for 2019 is unaudited and subject to change. Notably, in the

absence of restructuring, the Debtor projects positive earnings before payment of interest, taxes,

depreciation, and amortized debt service (“EBITDA”) for the 2020 fiscal year, which commences

on October 1, 2019.




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                                                                       2019              2020
                       2016            2017               2018
                                                                    (Projected)       (Projected)
                                                                        272
 Total FTEs              313.77           317.93            321.67                          280.30
                                                                   (approximate)
 Gross
 Patient            $119,749,195   $115,366,608        $121,252,778 $110,500,604     $106,879,864
 Revenue
 Deductions
 from                $66,111,072    $63,399,799         $68,273,966   $61,924,832     $57,990,675
 Revenue
 Net Patient
                     $53,638,123    $51,966,809         $52,978,812   $48,575,772     $48,889,189
 Revenue
 Operating
                     $55,189,202    $57,565,238         $61,860,030   $56,716,886     $51,418,019
 Expenses
 Net
                       $380,190    ($1,778,236)        ($6,629,573) ($15,059,335)       ($985,156)
 Income/Loss
 EBITDA               $2,652,197       $316,379        ($4,442,616) ($12,920,475)       $1,024,153

       25.     The Debtor has commenced its chapter 11 case in order to continue its restructuring.

This will include restructuring its balance sheet and implementing additional operational changes.

       C.      The Debtor’s Pre-Petition Secured Debt Structure

       26.     The Debtor’s pre-petition secured debt structure is described in the following

paragraphs. This description is based on a preliminary investigation. The Debtor, as debtor and

debtor-in-possession, reserves all rights to challenge any of the following loans, transactions, and

claims, to the extent permitted under applicable law, following a complete investigation.

               1.       Berkshire Bank (Lender)/USDA/Rural Development (Guarantor)

       27.     Based on a review of relevant documents, it is my understanding that Berkshire

Bank (“Berkshire”) claims to be a creditor of the Debtor by virtue of the Debtor’s execution and

delivery of a two promissory notes memorializing a term loan (the “Term Loan”) in the original

principal amount of $12 million and a line of credit note (the “LOC”) with an original maximum

available amount of $3 million (collectively, the “Berkshire Notes”). SMCS is jointly liable under

the Berkshire Notes.

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       28.    According to the Debtor’s books and records, as of the June 19, 2019, the

outstanding principal balance on the Term Loan was $8,024,112.39 and the outstanding principal

balance on the LOC was $1,214,748.23.

       29.    Berkshire may claim a mortgage interest in the Debtor’s hospital campus to secure

the Berkshire Notes (the “Berkshire Mortgage”). The hospital campus is located at 25 Ridgewood

Road, Springfield, Vermont. There are adjacent properties owned by the Debtor located at 30

Ridgewood Road, land on Ridgewood Road, and 198 Park Street. It is my understanding that 198

Park Street is unencumbered.

       30.    Berkshire may also claim a security interest in, among other things, the Debtor’s

accounts receivable and other intangible property pursuant to a certain loan agreement between

Berkshire, SMCS, and the Debtor (the “Berkshire Loan Agreement”).

       31.    The Debtor also owns real property located a 55 Vermont Route 11, Chester,

Vermont (the “Chester Property”).       It is my understanding that the Chester Property is

unencumbered by mortgage interests. It is my understanding that the Chester Property has a tax

assessed value of approximately $774,200.00.

       32.    It is my understanding that the obligations of the Debtor and SMCS under the

Berkshire Notes are guaranteed, in part, by the United States Department of Agriculture, acting

through the Office of Rural Development (“USDA”).

       33.    In January 2019, shortly after news articles about the Debtor’s financial challenges,

Berkshire informed the Debtor that it claimed the right to take possession of the Debtor’s

endowment fund—approximately $4.3 million in securities at that time—and to apply the value of

this property to outstanding indebtedness under the Berkshire Notes. It is my understanding that




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Berkshire was concerned about what appeared to be a deteriorating financial condition of the

Debtor and felt insecure in the Debtor’s ability to repay its obligations.

       34.       The Berkshire Loan Agreement purported to grant Berkshire a security interest in

investment property, and Berkshire had a filed financing statement purporting to perfect a security

interest in investment property.

       35.       At that time, the Debtor and the System as a whole faced serious cash availability

challenges. The Debtor’s internal cash projections suggested that the Debtor would be unable to

make payroll within a matter of days or weeks. The State of Vermont agreed to provide the Debtor

with an advance of future Medicaid claims up to $1 million. The State of Vermont conditioned its

advance on Berkshire releasing to the Debtor an equal amount of funds from the endowment.

Berkshire agreed to do so provided that the Debtor agree to turn over the balance of its endowment

to Berkshire. Unready to file for relief under chapter 11 and facing no alternatives, the Debtor

agreed to do so.

       36.       Berkshire has otherwise been cooperative throughout the Debtor’s pre-petition

restructuring.

                 2.     Capital Leases

       37.       There are numerous parties who have filed financing statements with respect to

transactions that may be leases or may be disguised financing. None of these parties claim an

interest as original collateral in accounts receivable, cash, or related liquid assets. The Debtor

reserves all rights as to the proper characterization of such transactions.

       D.        Significant Unsecured Obligations

       38.       Below is a description of significant unsecured claims against the Debtor. This

description is based on a preliminary investigation only. The Debtor, as debtor and debtor-in-



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possession, reserves all rights to challenge any of the following loans, transactions, and claims, to

the extent permitted under applicable law, following a complete investigation.

               1.      One Care Vermont, LLC

       39.     Vermont has pursued an innovative model to reduce health care costs and share

potential savings among providers through the utilization of accountable care organizations

mentioned above and referred to as an “ACO.” An ACO brings together providers in a payment

system designed to avoid unnecessary care and save health care dollars. One Care Vermont, LLC

(“One Care”), is state-level ACO in Vermont with providers serving approximately 172,000

Vermonters whose health services are paid for through the federal Medicare program, state

Medicaid program, commercial insurance, and self-insured health plans. Springfield, like many

other providers, has entered into one or more agreements with One Care altering the default cost-

based payment and reimbursement procedures under the Medicare and Medicaid programs.

       40.     Shortly before the Petition Date, One Care withheld payment from Springfield

under the Medicare and Medicaid programs for the month of May in the amount of approximately

$676,000.00 and proposed withholding a similar amount in June in order to offset amounts

received by Springfield in 2018 and 2019 for certain groups of Medicare (but not Medicaid)

patients. One Care has communicated that it is the position of the federal Centers for Medicare

and Medicaid Services (“CMS”) that Springfield, as well as many other providers, was overpaid

by Medicare for these Medicare (but not Medicaid) claims through no fault of the providers. I also

understand that One Care made similar withholdings from other providers. There were also

programmatic payment issues between the parties.

       41.     These events had a significant and material impact on the Debtor’s financial

position and hastened its chapter 11 filing. The Debtor communicated this to One Care.



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       42.     Shortly before the Petition Date, the parties reached a settlement that resulted in an

agreement that certain payments be made to the Debtor pre-petition and post-petition. This

agreement provided needed cash to the Debtor.

               2.     Medicare

       43.     The Debtor also receives payments from Medicare, both directly and through One

Care. The Medicare program is administered by the federal CMS with the assistance of a fiscal

intermediary—in this case, National Government Services. The Debtor anticipates that it may

soon be notified of a substantial overpayment by CMS. It is not uncommon for critical access

hospitals to be overpaid by CMS in real time with “true up” payments at later points in time

following annual reconciliation audits.

               3.        Trade Payables

       44.     The Debtor has significant unpaid obligations to many of its vendors. The Debtor’s

books and records reflect that the total amount of unpaid trade payables totals approximately $6.7

million (as of June 25, 2019). This amount does not include Employee health claims, claims

involving One Care, tax claims involving the Internal Revenue Service, or any overpayment that

may exist to Medicare.

III.   The Necessity For Filing

       45.     The Debtor’s bankruptcy was necessary for several reasons, in addition to those

discussed above. First, many rural hospital patients often have no commercial insurance or are

underinsured and use emergency room services in lieu of primary care providers. The Debtor is

required to treat these patients, often with no reimbursement or pay in return. Second, Medicare

and Medicaid reimbursement margins have fallen in recent years, so even reimbursement through




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these channels has resulted in reduced income. Third, the Debtor is generally not paying all of its

debts as they become due because it lacks the ability to do so.

       46.     There are hundreds of vendors who may be owed money as of this filing. There

are also hundreds of current or former patients who may be owed refunds following reconciliation

of payments from their respective insurers or health plans. It is difficult, if not impossible, to

negotiate with a large body of creditors outside of chapter 11.

       47.     The Debtor desires to propose and confirm a plan to restructure its balance sheet

while also implementing further operational changes to boost earnings. I do not believe that it is

possible to restructure the Berkshire Notes with a reduction in the principal balance outside of

chapter 11.

       48.     Health care services provided by the Debtor are critical not only to Springfield, but

also to all of the people living in and visiting the Service Area. The Debtor’s closure could lead

to worse patient health outcomes for some patients.

       49.     The Debtor’s goal in filing for bankruptcy is to restructure its balance sheet to

enable it to stay open, continue providing services to the Service Area, and make further

operational changes to ensure the delivery of high-quality hospital services. If it is unable to

successfully navigate restructuring, it may be forced to close. Such a closure would significantly

and negatively impact the Town of Springfield and the entire Service Area.

IV.    The First Day Motions

       50.     I have reviewed each of the First Day Motions, including related exhibits, and

believe that the relief sought in each of the First Day Motions is necessary to avoid irreparable

harm to the Debtor and are necessary to successfully exit from chapter 11 protection. A failure to




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grant them would likely lead to cessation of business operations or a forced liquidation in state

court. The Debtor does not consent to conversion of this case to one under chapter 7.

       A.      The Cash Collateral Motion

       51.     Capitalized terms not defined herein and used during the following discussion of

the Cash Collateral Motion shall have the meaning ascribed to them in the Cash Collateral Motion.

       52.     In preparation for this filing, the Debtor and its advisors examined the Debtor’s

options for liquidity and debt restructuring, but it did not appear that there was any feasible out-

of-court restructuring alternative to chapter 11.

       53.     During these months, the Debtor and its advisors also analyzed its cash flow and

determined that the business is capable of operating under the terms of the Cash Plan, including

payment of applicable expenses and fees, without any diminution in the value of Cash Collateral

during the Relevant Period. The ending balance of the Debtor’s Cash Collateral at the end of the

Relevant Period is projected to be equal to or greater than the starting balance of Cash Collateral

at the beginning of the Relevant Period. The Relevant Period ends on or about October 6, 2019,

and the Debtor’s budget for the following fiscal year, which commences on October 1, 2019,

projects a positive EBITDA of approximately $1,024,153.00, in the absence of restructuring.

       54.     Without access to the use of Cash Collateral in chapter 11, the Debtor would be

unable to pay its general operating expenses immediately, including, without limitation, employee

payroll and other benefits, payments for necessary medical supplies, and for the various other items

reflected in the Proposed Budget. Upon the Debtor’s inability to pay these expenses, it would have

to immediately cease operations, which would result in the destruction of substantial value that

would otherwise inure to the benefit of the Debtor’s creditors. The human cost of such a closure




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would also be significant and adverse health consequences to patients in the Service Area are

highly likely.

       55.       I believe that the proposed disbursements that the Debtor seeks to make between

the Petition Date and the date of a final hearing on the Cash Collateral Motion are reasonable and

necessary to maintain medical operations and avoid irreparable harm to the Debtor. I also believe

that the Debtor would suffer irreparable harm if it is unable to use its Cash Collateral until the date

of a final hearing on the relief requested in the Cash Collateral Motion.

       56.       I further believe that each of the disbursements in the Cash Plan is reasonable and

necessary in order to continue the provision of appropriate health care services to the patients of

the Debtor without harming the value of the Debtor as a going concern and for the Debtor to fulfill

its obligations while in chapter 11 throughout the Relevant Period. The proposed disbursements

may vary from actual disbursements as medical supply needs vary from week to week. Receipts

may also vary based on patient volume.

       57.       In addition, the Debtor requires use of its Cash Collateral to have adequate time to

formulate and propose a chapter 11 plan of reorganization.

       58.       As of the Petition Date, the Debtor had a number of deposit accounts and a

marketable securities account with funds in them. These accounts and the sources of funds in them

are summarized in Exhibit A to this Declaration. I understand that several of these accounts are

comprised of commingled payments from different sources, some of which may not be collateral

of any party because they include donations and prospective interim payments that may not be

earned when paid or ever.




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          59.   I believe the allegations in paragraphs 7, 8, 11, 13, 15, 16, 17, 18, 19, and 20 (final

sentence) of the Cash Collateral Motion are true and accurate to the best of my knowledge and

belief.

          B.    The Payroll Motion

          60.   Capitalized terms not defined herein and used during the following discussion of

the Payroll Motion shall have the meaning ascribed to them in the Payroll Motion.

          61.   I understand that by the Payroll Motion, the Debtor seeks authorization to pay

certain accrued wages, salaries, and payroll-related expenses, to make payments to certain

insurance companies, and to authorize all applicable banks or financial institutions to receive,

process, honor, and pay any and all checks drawn on the Debtor’s accounts in relation to amounts

authorized to be paid under the Payroll Motion.

          62.   Based on the payroll period ending June 1, the net pre-petition compensation

attributable to the period from June 16, 2019, through the Petition Date for Employees will be

approximately $400,000.00, plus applicable employment taxes and withholdings in the

approximate amount of $179,000.00, which includes employer- and employee-paid taxes. Due to

the timing of the Debtor’s chapter 11 filing and the nature of the Debtor’s business, these are

estimated numbers. Actual hours worked by specific Employees may vary from what is projected.

          63.   I believe any delay in paying compensation and contributions to employee benefit

programs will damage the Debtor’s relations with Employees, cause irreparable harm to morale,

and harm the value of the Debtor’s business, property, and assets. As a medical facility, the

Debtor’s operations require skilled, carefully trained, and often highly educated employees to

maintain the requisite levels of medical care and other services provided to patients. Given the

Debtor’s location in Springfield, Vermont, the Hospital expends significant effort and cost training



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and retaining its current employees and recruiting medical providers. If Employees were to

terminate their employment with the Debtor because they are not promptly paid and benefit

programs are not maintained, then it would be difficult to find replacement employees. The

Employees’ skills, knowledge, and understanding of the Debtor’s business and operations are

essential to the effective operation of the Debtor’s business, including delivery of high quality

medical care to patients, and to a successful reorganization of this business in a fashion that

maximizes the return to creditors and other parties-in-interest.

       64.     To maintain and preserve the morale of any continuing labor force while

restructuring occurs, I believe that it is essential that the Debtor be permitted to pay Employees

the compensation and deductions accrued prior to the Petition Date and that Employees be

permitted to utilize PTO in the manner requested in the Payroll Motion. I believe that if the Debtor

reduces or eliminates these benefits, then the likelihood of losing Employees increases.

       65.     Absent the relief requested in the Payroll Motion, I believe that the Debtor’s

Employees will suffer undue hardship and, in many instances, suffer financial difficulties because

these sums are needed to enable them to meet their own personal obligations. I believe that many

Employees would seek other employment if not paid and that the Debtor could lose critical

Employees who would be difficult to replace. I believe that the loss of these Employees would

jeopardize the Debtor’s continuing business operations and its ability to reorganize. Moreover, I

understand that applicable state law may require payment of wage-related claims upon the

termination of such Employees.

       66.     I believe the factual allegations in the following paragraphs of the Payroll Motion

are true and accurate to the best of my knowledge and belief: 7, 8, 9, 11, 12, 13, 14, 15, 17, 19, 21,

22, 24, 25, 26, 27 (first sentence), 28, 29, 30, 31, 34 (second sentence), 36, 37, 38, 39 (first three



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sentences), 40 (final sentence), 41, 42, 43, 44, 45, 46 (first sentence), 47, 49, 50, 51, 52, 53, 54,

and 55. Based on that, no Employee will receive, in the aggregate, payment of pre-petition payroll

in an amount greater than $13,650.00. There are three Employees whose wages may potentially

exceed this amount. The Debtor will cap their payments for this time period at $13,650.00.

Further, unless authorized by the Court, no payments will be made on account of any employee

benefit plan in excess of the amount allowed under § 507(a)(5) of the Bankruptcy Code.

       C.      The Cash Management Motion

       67.     Capitalized terms not defined herein and used during the following discussion of

the Cash Management Motion shall have the meaning ascribed to them in the Cash Management

Motion.

       68.     I understand that by the Cash Management Motion the Debtor seeks authority to

continue its pre-petition cash management system (the “Cash Management System”) and to use

pre-petition bank accounts and business forms. The Debtor also seeks authority to continue to use

any pre-petition credit cards it may have as well as permission to use electronic funds transfers

and automatic clearinghouse transactions for purchases with vendors. I believe this relief is critical

to avoid disruption to the Debtor’s operations and irreparable harm to the Debtor. The Cash

Management System includes several accounts located at several different banks and investment

accounts described in Exhibit A. It is my understanding that opening new bank accounts could

cause significant delays in the Debtor’s receipt of electronic payments, which is the predominate

form of payment to the Debtor from its payors. This would cause irreparable harm to the Debtor

due to the fact that, absent continued payments on the current schedule, the Debtor would lack

sufficient funds to maintain operations.




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        69.     The Debtor also uses a variety of business forms. The Debtor requests permission

to use its existing business forms, such as checks that it prints on stock. The Debtor will identify

its status as a debtor-in-possession on all checks, to the extent that it is required to do so.

        70.     The Debtor has a complex accounting system that is tailored to its business needs.

Opening new books would be disruptive to accounting functions. The Debtor’s accounting system

is capable of delineating between pre- and post-petition transactions.

        71.     I believe that changing the Cash Management System would result in needless

disruption of the Debtor’s business and impede the Debtor’s ability to seamlessly transition into

chapter 11.

        72.     I believe the factual allegations in the following paragraphs of the Cash

Management Motion are true and correct to the best of my knowledge and belief: 7, 8, 9, 10, 15

(excluding final sentence), 16 (excluding final sentence), 17 (third and seventh sentences), and 18

(excluding first sentence).

        D.      The Quorum Motion

        73.     Capitalized terms not defined herein and used in the following discussion of the

Quorum Motion shall have the meaning ascribed to them in the Quorum Motion.

        74.     By the Quorum Motion, the Debtor seeks authority to continue its pre-petition

engagement with Quorum, which provides management and consulting services to the Debtor and

the System. This includes providing chief executive officer and chief financial officer services as

well as financial and operational consulting services unique to the health care industry.

        75.     It is my belief that the Debtor requires the services described in the Quorum Motion

in order to successfully function at this time and that the Debtor would suffer irreparable harm if

the Quorum Motion is not granted on an emergency basis.



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       E.      The Need For Emergency Hearings

       76.     Due to the nature of the relief sought by certain of the First Day Motions, the Debtor

seeks expedited or emergency hearings on them, as appropriate in light of the relief requested and

the Court’s availability, as soon as possible after the Petition Date.

       77.     The Debtor seeks immediate relief with respect to the Cash Collateral Motion.

Without immediate authority to continue to use Cash Collateral, the Debtor will be unable to

operate its business going forward. The ability to operate its business is essential to the Debtor’s

ability to preserve value as a going concern—and to keep patients in the Service Area safe and

healthy. Without the ability to use Cash Collateral, the Debtor would be unable to buy basic

medical supplies necessary to keep patients healthy or to pay payroll. The Debtor would simply

be unable to operate. This would jeopardize the Debtor’s reorganization.

       78.     The Debtor’s ability to continue its operations depends, to a significant extent, on

its ability to retain its Employees. If the Payroll Motion is not heard on an expedited or emergency

basis, then the Debtor will not be able to pay its Employees in an ordinary and timely manner.

That inability would almost certainly lead to a loss of employees at the time when the Debtor needs

them most. This would jeopardize the Debtor’s continuing business operations and ability to

reorganize.

       79.     The Debtor also seeks immediate authority to maintain its existing Cash

Management System, bank accounts, and business forms in order to make a seamless transition

into chapter 11 and avoid disruptions in receipt of revenue. The Debtor relies upon its existing

Cash Management System for important business functions, including the payment of payroll and

applicable state and federal payroll taxes and lacks meaningful cash reserves to withstand a

protracted lapse in payment should that arise.



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        80.    The Debtor requires immediate authority to continue its professional relationship

with Quorum. In the absence of Quorum, the Debtor would have no senior executive leadership

and would not have needed assistance with operational consulting unique to the health care

industry.

V.      Information Provided In Compliance With Rule 1007-1(h)-(i) Of The Vermont Local
        Bankruptcy Rules (the “Local Rules” or a “Local Rule”)

        81.    Information required under Local Rule 1007-1(h)(1) is provided herein.

        82.    This case was not filed under any other chapter. Local Rule 1007-1(h)(2).

        83.    No committee was organized prior to the order for relief. Local Rule 1007-1(h)(3).

        84.    The Debtor is a Vermont non-profit business corporation and has no shares of stock,

debentures, or securities that are publicly held. Local Rule 1007-1(h)(4).

        85.    With the exception of proceeds of the Debtor’s endowment transferred to

Berkshire, there is no property of the Debtor in the possession of another party and no court

proceeding related thereto is pending. Local Rule 1007-1(h)(5).

        86.    The Debtor’s former chief executive officer has threatened to bring a wrongful

termination suit against the Debtor, SMCS, certain members of the Boards, and Quorum. Local

Rule 1007-1(h)(6).

        87.    The Debtor’s hospital campus is located at 25 Ridgewood Road, Springfield,

Vermont, and the Debtor’s inpatient mental health facility is located at 1 Hospital Court, # 12,

Bellows Falls, VT 05101. The Debtor owns additional real property located in Springfield and

Chester, as discussed herein. Local Rule 1007-1(h)(7).

        88.    The projected amount of payroll and related expenses for the 30-day period

following the Petition Date is listed in the Cash Plan. This amount is approximately $1.62 million.




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Local Rule 1007-1(i)(1). This amount does not include proposed disbursements on account of

Employee benefits.

       89.     The Cash Plan contains projected cash receipts and disbursements for more than 90

days following the Petition Date. The Debtor’s projections are structured to provide projected

receipts and disbursements on a weekly basis rather than in 30-day increments. The Debtor has

prepared a summary in approximately four-week increments. It would have been a significant

amount of additional work to split certain weeks into 30-day increments and was not possible to

do so within the time constraints of this chapter 11 filing. Local Rule 1007-1(i)(2).

       90.     Collectively attached to this Declaration as Exhibit B are copies of proof of

insurance for the System.




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